          Case 1:20-cv-09586-LAK Document 25 Filed 01/15/21 Page 1 of 3




                                                    January 15, 2021


By Electronic Filing
The Hon. Lewis A. Kaplan
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007


       Re:        Anthony Rapp and C.D. v. Kevin Spacey Fowler a/k/a Kevin Spacey
                  Southern District of New York, Case No. 1:20-cv-09586 (LAK)


Dear Judge Kaplan:

        As Your Honor knows, we represent Mr. Fowler in the above-referenced matter. I write
to respond to and supplement the letter dated January 14, 2021 from Peter Saghir, counsel for
plaintiffs, to Your Honor.

        First, as Mr. Saghir notes, the parties could not reach an agreement that would permit
plaintiff C.D. to proceed by pseudonym. We do not believe it is appropriate for plaintiff C.D. to
proceed by pseudonym, and his doing so would be fundamentally unfair under the circumstances
and prejudicial to Mr. Fowler’s ability to defend against the claims. Mr. Saghir informed me today
he intends to file his motion seeking permission for plaintiff C.D. to plead anonymously by no
later than Thursday, January 21, 2021. Mr. Fowler will oppose the motion.

        Second, Your Honor ordered Mr. Saghir to disclose plaintiff C.D.’s true identity, date of
birth, address, and social security number by the close of business today. Your Honor also asked
the parties to inform the Court if the parties could not agree on the terms under which the defense
must keep plaintiff C.D.’s true identity confidential pending determination of plaintiffs’
forthcoming FRCP 10 motion. Mr. Saghir’s letter to Your Honor does not address this separate
issue, and I write to inform the Court on the parties’ positions.

        While we expect plaintiffs’ counsel to comply with the Court’s directive by providing
plaintiff C.D.’s true identity to us later today, Mr. Saghir now insists Mr. Fowler’s counsel cannot
use that information to investigate the claims or conduct discovery. More specifically, on behalf
of Mr. Fowler, I proposed these terms apply until the Court rules on plaintiff C.D’s anticipated
motion to proceed by pseudonym:




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          Case 1:20-cv-09586-LAK Document 25 Filed 01/15/21 Page 2 of 3

January 15, 2021
Page 2


      Any documents filed with the Court shall contain only the pseudonym for Plaintiff C.D.,
       rather than his true name;

      The parties are barred from publishing C.D.’s true identity or identifying information to
       the public;

      Mr. Fowler is permitted to conduct full discovery, investigate, and otherwise prepare his
       defense; in doing so, he and his counsel may provide notice of the claim, seek and obtain
       discovery and information from third parties, including by issuing subpoenas; and provide
       information to any expert witness, consultant, employee, counsel, or assistant; and

      If Mr. Fowler or his counsel disclose C.D’s true name or other identifying information to
       any third party individual or entity, counsel must instruct that individual or entity to whom
       such disclosure is made to keep C.D.’s true name and other identifying information
       confidential from the public.

        Notably, these protections largely track those proposed by Mr. Saghir in his request Mr.
Fowler agree that plaintiff C.D. can proceed by pseudonym for the entirety of this case, and they
are consistent with Mr. Saghir’s representations that plaintiffs do not intend to inhibit Mr. Fowler’s
ability to investigate and defend against the claims. But plaintiffs’ counsel now backtracks and
insists plaintiff C.D.’s identity cannot be disclosed to anyone other than Mr. Fowler and his
counsel, even to those needed to investigate and defend against the claims.

       As stated, Mr. Fowler will oppose plaintiffs’ motion because plaintiff C.D. proceeding by
pseudonym throughout discovery and trial would be unfair and prejudicial. But consistent with
the Court’s statements at the January 12, 2021 hearing, Mr. Fowler and his counsel will abide by
the provisions described above to protect plaintiff C.D.’s anonymity until disposition on plaintiffs’
forthcoming FRCP 10 motion is decided.

        Mr. Saghir’s new position is untenable. If Mr. Fowler cannot disclose plaintiff C.D.’s
name as permitted under the restrictions described above – e.g., to an investigator, potential
witnesses, or assistants as needed to collect documents and information and with the instruction to
keep such material confidential from the public – Mr. Fowler will have no meaningful way to
investigate and conduct discovery until plaintiff C.D.’s FRCP 10 motion is decided. Such a result
would be highly prejudicial to Mr. Fowler, especially because it would delay Mr. Fowler’s
investigation and discovery of plaintiff C.D.’s claim by at least a month. This is particularly
problematic because the Court set a discovery cutoff date in early July, and plaintiffs’ insistence
Mr. Fowler’s ability to investigate and take third-party discovery related to plaintiff C.D. be
delayed only exacerbates the prejudice to Mr. Fowler.

        Mr. Fowler therefore respectfully requests the Court clarify that the confidentiality of
plaintiff C.D.’s true identity shall be maintained under the terms and restrictions listed above until
disposition of plaintiff C.D.’s forthcoming motion for permission to proceed anonymously.



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         Case 1:20-cv-09586-LAK Document 25 Filed 01/15/21 Page 3 of 3

January 15, 2021
Page 3




                                                       Respectfully submitted,
                                                       KELLER/ANDERLE LLP



                                                       Chase A. Scolnick




Copy by E-mail:          Peter J. Saghir
                         Erica A. Wolf
                         Ben Rubinowitz
                         Jennifer L. Keller
                         Jay P. Barron




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